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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                )     No. CR-09-015-EFS-21
 7                                              )
                     Plaintiff,                 )     ORDER GRANTING UNOPPOSED
 8                                              )     MOTION TO MODIFY PRETRIAL
       v.                                       )     RELEASE CONDITIONS
 9                                              )
       BRANDON J. HIGGINS,                      )
10                                              )     G   Action Required
                     Defendant.                 )
11                                              )
                                                )
12                                              )

13          Defendant, BRANDON HIGGINS, by and through his attorney, John P.

14    Nollette, has moved to modify, and the Plaintiff, United States of

15    America, by and through its attorney, Russell E. Smoot, does not

16    oppose modification of, pretrial release conditions, to remove the

17    Defendant from home monitoring and to allow the Defendant to seek

18    and obtain employment.        U.S. Probation Officer Ann Sauther is also

19    in agreement with Defendant seeking employment, and she has verified

20    that Defendant has been evaluated and does not require treatment.

21          The court has considered the Defendant’s unopposed Motion, and

22    the recommendations of the U.S. Probation Officer, and finds that

23    there is good cause to grant the requested relief.

24          IT IS ORDERED that the Defendant’s Motion (Ct. Rec. 681) is

25    GRANTED. Defendant’s conditions of release are MODIFIED as follows:

26          1.   The requirement that the Defendant be on electronic home

27    monitoring is removed.

28          2.   Defendant shall be permitted to seek employment, but such

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      PRETRIAL RELEASE CONDITIONS - 1
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 1    employment    shall      be   restricted     to    the    Eastern    District     of
 2    Washington.
 3       3.   Defendant shall notify Ms. Sauther as to his plans for
 4    seeking employment and thereafter shall provide her office with the
 5    name and address of his employer, his work schedule and the job-site
 6    address or area.
 7       All other standard and special conditions of the Defendant’s
 8    pretrial release shall remain in full force and effect.
 9       DATED May 6, 2009.
10
11                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO MODIFY
      PRETRIAL RELEASE CONDITIONS - 2
